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6
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )     2:09-CR-00074-JAM
                                        )
12               Plaintiff,             )     STIPULATION AND ORDER TO
                                        )     CONTINUE STATUS CONFERENCE
13         v.                           )     REGARDING FORFEITURE
                                        )
14   DUANE ALLEN EDDINGS                )
                                        )
15               Defendant.             )
                                        )
16                                      )
                                        )
17
18         IT IS HEREBY STIPULATED between the United States of America
19   through its undersigned counsel, Kevin C. Khasigian, Assistant
20   United States Attorney, and counsel for defendant Duane Allen
21   Eddings, Joseph J. Wiseman, that:
22         1.    The status conference regarding forfeiture currently
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///


                                         1        Stipulation and Order to
                                                  Continue Status Conference
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1    set for January 10, 2012 at 9:30 a.m., with the Court’s approval,
2    be continued to February 7, 2012 at 9:30 a.m.
3
4    Dated: 1/5/12                            BENJAMIN B. WAGNER
                                              United States Attorney
5
6
                                       By:     /s/ Kevin C. Khasigian
7                                             KEVIN C. KHASIGIAN
                                              Assistant U.S. Attorney
8
9
10   Dated: 1/5/12                             /s/ Joseph J. Wiseman
                                              JOSEPH J. WISEMAN
11                                            Attorney for Defendant
                                              Duane Allen Eddings
12
                                              (Authorized by phone)
13
14
                                      ORDER
15
          IT IS SO ORDERED.
16
17   Dated: 1/6/2012
                                              /s/ John A. Mendez
18                                            JOHN A. MENDEZ
                                              United States District Judge
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                                       2         Stipulation and Order to
                                                 Continue Status Conference
